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                                                                     FILED: April 22, 2019


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT


                                      ___________________

                                           No. 18-4348
                                      (1:16-cr-00363-JKB-6)
                                      ___________________

        UNITED STATES OF AMERICA

                     Plaintiff - Appellee

        v.

        KENNETH FAISON, a/k/a Roscoe

                     Defendant - Appellant

                                      ___________________

                                         MANDATE
                                      ___________________

              The judgment of this court, entered March 29, 2019, takes effect today.

              This constitutes the formal mandate of this court issued pursuant to Rule

        41(a) of the Federal Rules of Appellate Procedure.


                                                               /s/Patricia S. Connor, Clerk
